           Case 3-19-13610-kmp                              Doc 12          Filed 11/12/19 Entered 11/12/19 14:28:24                                                 Desc Main
                                                                          Document      Page 1 of 68
 Fill in this information to identify your case:

 Debtor 1                   Michael R. Bauer
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Kathleen R. LaRocque
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  WESTERN DISTRICT OF WISCONSIN

 Case number           3-19-13610
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             750,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $             350,851.62

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $          1,100,851.62

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $          1,285,798.49

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $          2,502,364.51


                                                                                                                                     Your total liabilities $             3,788,163.00


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                5,517.18

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                6,975.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
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 Debtor 1      Michael R. Bauer
 Debtor 2      Kathleen R. LaRocque                                                       Case number (if known) 3-19-13610

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                  page 2 of 2
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                                                                               Document      Page 3 of 68
 Fill in this information to identify your case and this filing:

 Debtor 1                    Michael R. Bauer
                             First Name                                 Middle Name                    Last Name

 Debtor 2                    Kathleen R. LaRocque
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      WESTERN DISTRICT OF WISCONSIN

 Case number            3-19-13610                                                                                                                               Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        919 Shorewood Blvd                                                             Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
        Madison                           WI        53705-0000                         Land                                       entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                               $750,000.00                $750,000.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only
        Dane                                                                           Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                Dane County 2019 assessed value $688,000; Debtors calculation of
                                                                                liquidation value of $750,000 per Home Appraisal for Capital Bank dated
                                                                                4-4-2016


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                      $750,000.00


 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                  page 1
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3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:     Lexus                                       Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:    GS 300 4 Dr Sedan                                 Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:     2006                                              Debtor 2 only
                                                                                                                              Current value of the      Current value of the
         Approximate mileage:     163,703                            Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         VIN# JTHCH96S960009919
                                                                     Check if this is community property                                $2,700.00                  $2,700.00
                                                                     (see instructions)



  3.2    Make:     Lexus                                       Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:    RX 400H 4 Dr Wagon                                Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:     2008                                              Debtor 2 only
                                                                                                                              Current value of the      Current value of the
         Approximate mileage:     203965                             Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         VIN# JTJHW31U382048514
                                                                     Check if this is community property                                $3,250.00                  $3,250.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                  $5,950.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Living Room 1 - Couch                                                                                                             $100.00


                                    Living Room 1 - Desk                                                                                                                $25.00


                                    Living Room 1 - Chairs (2)                                                                                                          $50.00


                                    Living Room 1 - Tables (3)                                                                                                        $100.00


                                    Living Room 1 - Lamps (3)                                                                                                           $30.00



Official Form 106A/B                                                       Schedule A/B: Property                                                                        page 2
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 Debtor 2       Kathleen R. LaRocque                                                            Case number (if known)   3-19-13610


                                    Living Room 1 - Cabinets                                                                                   $25.00


                                    Living Room 2 - Tablse (3)                                                                                 $50.00


                                    Living Room 2 - Chairs (2)                                                                                 $20.00


                                    Living Room 2 - Lamps (3)                                                                                  $30.00


                                    Living Room 2 - China dishes                                                                             $100.00


                                    Living Room 2 - Couches (2)                                                                              $125.00


                                    Living Room 2 - Rugs (3)                                                                                   $20.00


                                    Bedrooms - Beds (4)                                                                                      $200.00


                                    Bedrooms - Chairs (5)                                                                                      $65.00


                                    Bedrooms - Dressers (5)                                                                                  $105.00


                                    Bedrooms - Chests of Drawers (5)                                                                           $80.00


                                    Bedrooms - Desks (2)                                                                                       $30.00


                                    Bedrooms - Mirrors (2)                                                                                     $20.00


                                    Bedrooms - Lamps (4)                                                                                       $40.00


                                    Bedrooms - Vanities (4)                                                                                    $55.00


                                    Kitchen - Table                                                                                          $125.00


                                    Kitchen - Chairs (8)                                                                                     $200.00


                                    Kitchen - Microwave                                                                                        $50.00


                                    Kitchen - Refrigerator                                                                                   $100.00


                                    Kitchen - Deep Freezer                                                                                     $25.00




Official Form 106A/B                                                   Schedule A/B: Property                                                   page 3
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 Debtor 2       Kathleen R. LaRocque                                                             Case number (if known)    3-19-13610


                                    Kitchen - Dishwasher                                                                                         $25.00


                                    Kitchen - Dryer                                                                                              $25.00


                                    Kitchen - Stove                                                                                              $25.00


                                    Kitchen - Dishes                                                                                             $25.00


                                    Office - Desk                                                                                                $20.00


                                    Office - Chairs (4)                                                                                          $40.00


                                    Vacuum Cleaner                                                                                               $50.00


                                    Iron                                                                                                         $10.00


                                    Piano                                                                                                      $100.00


                                    Power Tools                                                                                                $100.00


                                    Basement - old furniture, tv                                                                               $100.00


                                    Basement - Rugs                                                                                              $30.00


                                    Basement - Blankets (5)                                                                                      $50.00


                                    Basement - Rugs (3)                                                                                          $30.00


                                    Basement - Chairs (3)                                                                                      $100.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    Living Room 1 - Television                                                                                 $100.00


                                    Bedrooms - Television                                                                                        $25.00


                                    Bedrooms - Stereo                                                                                            $25.00




Official Form 106A/B                                                   Schedule A/B: Property                                                     page 4
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 Debtor 2       Kathleen R. LaRocque                                                                Case number (if known)     3-19-13610


                                    Bedrooms - Computers (4)                                                                                       $400.00


                                    Office - Computer                                                                                              $100.00


                                    Stereo                                                                                                         $100.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
        Yes. Describe.....

                                    misc prints                                                                                                    $500.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
        Yes. Describe.....

                                    balls $20, bats $20, bikes $250, Stairmaster $100, Golfclubs $100                                              $490.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    clothing, outwear, shoes and boots                                                                           $1,500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                    Jewelry - watches ($50); wedding bands ($1000), engagement ring
                                    ($1000); costume jewelry ($500)                                                                              $2,550.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
        Yes. Describe.....

                                    two cats                                                                                                         $50.00


14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....



Official Form 106A/B                                                   Schedule A/B: Property                                                         page 5
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 Debtor 2         Kathleen R. LaRocque                                                                                        Case number (if known)   3-19-13610


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                              $8,340.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                              Current value of the
                                                                                                                                                          portion you own?
                                                                                                                                                          Do not deduct secured
                                                                                                                                                          claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                 Cash                                      $140.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:

                                                          Free Checking
                                              17.1.       0008                                    Summit Credit Union                                                    $5,664.94


                                                          Checking
                                              17.2.       #7325456643                             Wells Fargo Bank                                                         $990.24


                                                          Divdent Checking
                                              17.3.       #0009                                   Summit Credit Union                                                        $19.82


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                             % of ownership:

                                                  Sports Advisors, Inc. - administratively
                                                  dissolved 6-10-2019
                                                  Assets: Accounts Receivable of $399,493 -
                                                  deemed uncollectable; bank account $702;
                                                  contingent possible future income from
                                                  insurance policy sales
                                                  Assets less than debts                                                            100          %                             $0.00


                                                  Bauer Law LLC - dissolved 5-10-2017
                                                  Accounts Receivable of $20,210 - deemed                                         Sole
                                                  uncollectable                                                                 Member -
                                                  Assets less than debts                                                         100%            %                             $0.00




Official Form 106A/B                                                                       Schedule A/B: Property                                                             page 6
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 Debtor 2        Kathleen R. LaRocque                                                                    Case number (if known)      3-19-13610


                                         Bauer & Bach, LLC - dissolved 8-28-2015
                                         Accounts Receivable of $139,565 - deemed                           Member -
                                         uncollectable                                                        50%          %                                 $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                           Institution name:

                                      Pension annuity - TIAA               American Players Theatre of Wisconsin DC
                                      Traditional                          Plan
                                                                           TIAA Retirement Contract - vested balance
                                                                           $3,624.66
                                                                           In the name of Kathleen Larocque                                            $3,624.66


                                                                           TIAA IRA - American Players Theatre of
                                                                           Wisconsin DC Plan
                                                                           In the name of Kathleen Larocque                                        $147,610.89


                                      Pension 401(a) and 403(b) Wisconsin Retirement System (WRS), Dept of
                                                                Employee Trust Funds
                                                                In the name of Kathleen R. LaRocque
                                                                Balance in Employee Required contributions
                                                                and employer contributions                                                         $176,915.94


                                      Pension                              Wisconsin Retirement System (WRS), Dept of
                                                                           Employee Trust Funds
                                                                           In the name of Michael Bauer, previously
                                                                           employed for 5 1/2 years                                                    Unknown


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                              Institution name or individual:


                                      remaining balance of     Advance payment held as security by                                                       $395.00
                                      advance payment of legal Steinhilber Swanson LLP
                                      services                 122 W. Washington Ave., Suite 850
                                                               Madison, WI 53703


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............        Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       No
       Yes.............         Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):
Official Form 106A/B                                                   Schedule A/B: Property                                                               page 7
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25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                    Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured
                                                                                                                                   claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                Beneficiary:                          Surrender or refund
                                                                                                                                    value:

                                         Cuna Mutual Group, CMFG Life
                                         Insurance Company,
                                         Accidental Death and Dismemberment
                                         Coverage
                                         Insured Kathleen R. LaRocque and
                                         family
                                         Coverage amount: complimentary
                                         $1000.00; Additional (Family)                        Michael R. Bauer and
                                         $500,000.00                                          Kathleen LaRocque                                         $0.00


                                         Northwestern Mutual Life Insurance,
                                         Policy Date 8-13-2007
                                         Insured: minor daughter; Net death
                                         benefit $61,770.92
                                         Owner: Michael R. Bauer
                                         accumulated value $3455.36 less loan                 Michael R. Bauer and
                                         of $2852.08 = $603.28 net value                      Kathleen LaRocque                                     $603.28



Official Form 106A/B                                                 Schedule A/B: Property                                                            page 8
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 Debtor 2        Kathleen R. LaRocque                                                                                            Case number (if known)        3-19-13610


                                             Northwestern Mutual Life Insurance,
                                             Policy Date 1-27-03
                                             Insured: minor son; Net death benefit
                                             $62,981.92
                                             Owner: Michael R. Bauer
                                             accumulated value $5656.93 less loan                                     Michael R. Bauer and
                                             of $5060.08 = $596.85 net value                                          Kathleen LaRocque                                            $596.85


                                             University of Wisconsin System - term
                                             life insurance
                                             on life of Kathleen Larocque                                             Michael Bauer                                                    $0.00


                                             American Strategic Insurance Corp                                        Kathleen LaRocque
                                             homeowner's policy                                                       and Michael Bauer                                                $0.00


                                             Progressive Direct - auto insurance
                                             coverage
                                             Named Insured: Kathleen Larocque,                                        Michael R. Bauer and
                                             Michael Bauer and minor son                                              Kathleen LaRocque                                                $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................           $336,561.62


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.



Official Form 106A/B                                                           Schedule A/B: Property                                                                                 page 9
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           Case 3-19-13610-kmp                                 Doc 12 Filed 11/12/19 Entered 11/12/19 14:28:24                                                       Desc Main
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 Debtor 1         Michael R. Bauer
 Debtor 2         Kathleen R. LaRocque                                                                                                  Case number (if known)   3-19-13610

 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                           $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                 $750,000.00
 56. Part 2: Total vehicles, line 5                                                                           $5,950.00
 57. Part 3: Total personal and household items, line 15                                                      $8,340.00
 58. Part 4: Total financial assets, line 36                                                                $336,561.62
 59. Part 5: Total business-related property, line 45                                                             $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                    $0.00
 61. Part 7: Total other property not listed, line 54                                             +               $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $350,851.62               Copy personal property total              $350,851.62

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                      $1,100,851.62




Official Form 106A/B                                                               Schedule A/B: Property                                                                               page 10
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           Case 3-19-13610-kmp                         Doc 12 Filed 11/12/19 Entered 11/12/19 14:28:24                                       Desc Main
                                                             Document    Page 13 of 68
 Fill in this information to identify your case:

 Debtor 1                 Michael R. Bauer
                          First Name                        Middle Name                 Last Name

 Debtor 2                 Kathleen R. LaRocque
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF WISCONSIN

 Case number           3-19-13610
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      919 Shorewood Blvd Madison, WI                                 $750,000.00                             $150,000.00       Wis. Stat. § 815.20
      53705 Dane County
      Dane County 2019 assessed value                                                      100% of fair market value, up to
      $688,000; Debtors calculation of                                                     any applicable statutory limit
      liquidation value of $750,000 per
      Home Appraisal for Capital Bank
      dated 4-4-2016
      Line from Schedule A/B: 1.1

      2006 Lexus GS 300 4 Dr Sedan                                     $2,700.00                                 $2,700.00     Wis. Stat. § 815.18(3)(g)
      163,703 miles
      VIN# JTHCH96S960009919                                                               100% of fair market value, up to
      Line from Schedule A/B: 3.1                                                          any applicable statutory limit

      2008 Lexus RX 400H 4 Dr Wagon                                    $3,250.00                                 $3,250.00     Wis. Stat. § 815.18(3)(g)
      203965 miles
      VIN# JTJHW31U382048514                                                               100% of fair market value, up to
      Line from Schedule A/B: 3.2                                                          any applicable statutory limit

      Living Room 1 - Couch                                               $100.00                                  $100.00     Wis. Stat. § 815.18(3)(d)
      Line from Schedule A/B: 6.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 8
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 Debtor 1    Michael R. Bauer
 Debtor 2    Kathleen R. LaRocque                                                                        Case number (if known)     3-19-13610
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Living Room 1 - Desk                                                 $25.00                                    $25.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Living Room 1 - Chairs (2)                                           $50.00                                    $50.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.3
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Living Room 1 - Tables (3)                                          $100.00                                   $100.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.4
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Living Room 1 - Lamps (3)                                            $30.00                                    $30.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.5
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Living Room 1 - Cabinets                                             $25.00                                    $25.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.6
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Living Room 2 - Tablse (3)                                           $50.00                                    $50.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.7
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Living Room 2 - Chairs (2)                                           $20.00                                    $20.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.8
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Living Room 2 - Lamps (3)                                            $30.00                                    $30.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.9
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Living Room 2 - China dishes                                        $100.00                                   $100.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.10
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Living Room 2 - Couches (2)                                         $125.00                                   $125.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.11
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Living Room 2 - Rugs (3)                                             $20.00                                    $20.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.12
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 8
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 Debtor 1    Michael R. Bauer
 Debtor 2    Kathleen R. LaRocque                                                                        Case number (if known)     3-19-13610
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Bedrooms - Beds (4)                                                 $200.00                                   $200.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.13
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedrooms - Chairs (5)                                                $65.00                                    $65.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.14
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedrooms - Dressers (5)                                             $105.00                                   $105.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.15
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedrooms - Chests of Drawers (5)                                     $80.00                                    $80.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.16
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedrooms - Desks (2)                                                 $30.00                                    $30.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.17
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedrooms - Mirrors (2)                                               $20.00                                    $20.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.18
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedrooms - Lamps (4)                                                 $40.00                                    $40.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.19
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedrooms - Vanities (4)                                              $55.00                                    $55.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.20
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Kitchen - Table                                                     $125.00                                   $125.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.21
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Kitchen - Chairs (8)                                                $200.00                                   $200.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.22
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Kitchen - Microwave                                                  $50.00                                    $50.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.23
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 3 of 8
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 Debtor 1    Michael R. Bauer
 Debtor 2    Kathleen R. LaRocque                                                                        Case number (if known)     3-19-13610
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Kitchen - Refrigerator                                              $100.00                                   $100.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.24
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Kitchen - Deep Freezer                                               $25.00                                    $25.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.25
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Kitchen - Dishwasher                                                 $25.00                                    $25.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.26
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Kitchen - Dryer                                                      $25.00                                    $25.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.27
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Kitchen - Stove                                                      $25.00                                    $25.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.28
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Kitchen - Dishes                                                     $25.00                                    $25.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.29
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Office - Desk                                                        $20.00                                    $20.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.30
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Office - Chairs (4)                                                  $40.00                                    $40.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.31
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Vacuum Cleaner                                                       $50.00                                    $50.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.32
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Iron                                                                 $10.00                                    $10.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.33
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Piano                                                               $100.00                                   $100.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.34
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 4 of 8
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 Debtor 1    Michael R. Bauer
 Debtor 2    Kathleen R. LaRocque                                                                        Case number (if known)     3-19-13610
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Power Tools                                                         $100.00                                   $100.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.35
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Basement - old furniture, tv                                        $100.00                                   $100.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.36
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Basement - Rugs                                                      $30.00                                    $30.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.37
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Basement - Blankets (5)                                              $50.00                                    $50.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.38
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Basement - Rugs (3)                                                  $30.00                                    $30.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.39
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Basement - Chairs (3)                                               $100.00                                   $100.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 6.40
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Living Room 1 - Television                                          $100.00                                   $100.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 7.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedrooms - Television                                                $25.00                                    $25.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 7.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedrooms - Stereo                                                    $25.00                                    $25.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 7.3
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedrooms - Computers (4)                                            $400.00                                   $400.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 7.4
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Office - Computer                                                   $100.00                                   $100.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 7.5
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 5 of 8
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 Debtor 1    Michael R. Bauer
 Debtor 2    Kathleen R. LaRocque                                                                        Case number (if known)     3-19-13610
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Stereo                                                              $100.00                                   $100.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 7.6
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     misc prints                                                         $500.00                                   $500.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 8.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     balls $20, bats $20, bikes $250,                                    $490.00                                   $490.00        Wis. Stat. § 815.18(3)(d)
     Stairmaster $100, Golfclubs $100
     Line from Schedule A/B: 9.1                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     clothing, outwear, shoes and boots                               $1,500.00                                  $1,500.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Jewelry - watches ($50); wedding                                 $2,550.00                                  $2,550.00        Wis. Stat. § 815.18(3)(d)
     bands ($1000), engagement ring
     ($1000); costume jewelry ($500)                                                       100% of fair market value, up to
     Line from Schedule A/B: 12.1                                                          any applicable statutory limit

     two cats                                                             $50.00                                    $50.00        Wis. Stat. § 815.18(3)(d)
     Line from Schedule A/B: 13.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Cash                                                                $140.00                                   $140.00        Wis. Stat. § 20.921(1)(e)
     Line from Schedule A/B: 16.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Free Checking 0008: Summit Credit                                $5,664.94                                  $5,664.94        Wis. Stat. § 815.18(3)(k)
     Union
     Line from Schedule A/B: 17.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking #7325456643: Wells Fargo                                   $990.24                                   $990.24        Wis. Stat. § 815.18(3)(k)
     Bank
     Line from Schedule A/B: 17.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Divdent Checking #0009: Summit                                       $19.82                                    $19.82        Wis. Stat. § 815.18(3)(k)
     Credit Union
     Line from Schedule A/B: 17.3                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Pension annuity - TIAA Traditional:                              $3,624.66                                  $3,624.66        11 U.S.C. 522(n)
     American Players Theatre of
     Wisconsin DC Plan                                                                     100% of fair market value, up to
     TIAA Retirement Contract - vested                                                     any applicable statutory limit
     balance $3,624.66
     In the name of Kathleen Larocque
     Line from Schedule A/B: 21.1



Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 6 of 8
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 Debtor 1    Michael R. Bauer
 Debtor 2    Kathleen R. LaRocque                                                                        Case number (if known)     3-19-13610
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     TIAA IRA - American Players Theatre                             $147,610.89                             $147,610.89          11 U.S.C. 522(n)
     of Wisconsin DC Plan
     In the name of Kathleen Larocque                                                      100% of fair market value, up to
     Line from Schedule A/B: 21.2                                                          any applicable statutory limit

     Pension 401(a) and 403(b):                                      $176,915.94                             $176,915.94          Wis. Stat. § 815.18(3)(j)
     Wisconsin Retirement System
     (WRS), Dept of Employee Trust                                                         100% of fair market value, up to
     Funds                                                                                 any applicable statutory limit
     In the name of Kathleen R. LaRocque
     Balance in Employee Required
     contributions and employer
     contributions
     Line from Schedule A/B: 21.3

     Pension: Wisconsin Retirement                                     Unknown                                        100%        Wis. Stat. § 815.18(3)(j)
     System (WRS), Dept of Employee
     Trust Funds                                                                           100% of fair market value, up to
     In the name of Michael Bauer,                                                         any applicable statutory limit
     previously employed for 5 1/2 years
     Line from Schedule A/B: 21.4

     remaining balance of advance                                        $395.00                                   $395.00        Wis. Stat. § 815.18(3)(k)
     payment of legal services: Advance
     payment held as security by                                                           100% of fair market value, up to
     Steinhilber Swanson LLP                                                               any applicable statutory limit
     122 W. Washington Ave., Suite 850
     Madison, WI 53703
     Line from Schedule A/B: 22.1

     Northwestern Mutual Life Insurance,                                 $603.28                                   $603.28        Wis. Stat. § 815.18(3)(f)(3)
     Policy Date 8-13-2007
     Insured: minor daughter; Net death                                                    100% of fair market value, up to
     benefit $61,770.92                                                                    any applicable statutory limit
     Owner: Michael R. Bauer
     accumulated value $3455.36 less
     loan of $2852.08 = $603.28 net value
     Beneficiary: Michael R. Bauer and
     Kathleen La
     Line from Schedule A/B: 31.2

     Northwestern Mutual Life Insurance,                                 $596.85                                   $596.85        Wis. Stat. § 815.18(3)(f)(3)
     Policy Date 1-27-03
     Insured: minor son; Net death                                                         100% of fair market value, up to
     benefit $62,981.92                                                                    any applicable statutory limit
     Owner: Michael R. Bauer
     accumulated value $5656.93 less
     loan of $5060.08 = $596.85 net value
     Beneficiary: Michael R. Bauer and
     Kathleen LaRocque
     Line from Schedule A/B: 31.3


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes
Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 7 of 8
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         Case 3-19-13610-kmp                           Doc 12 Filed 11/12/19 Entered 11/12/19 14:28:24                          Desc Main
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 Debtor 1    Michael R. Bauer
 Debtor 2    Kathleen R. LaRocque                                                              Case number (if known)   3-19-13610




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                       page 8 of 8
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           Case 3-19-13610-kmp                         Doc 12 Filed 11/12/19 Entered 11/12/19 14:28:24                                               Desc Main
                                                             Document    Page 21 of 68
 Fill in this information to identify your case:

 Debtor 1                   Michael R. Bauer
                            First Name                      Middle Name                      Last Name

 Debtor 2                   Kathleen R. LaRocque
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF WISCONSIN

 Case number           3-19-13610
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Achilles Finance LLC                     Describe the property that secures the claim:                   $6,324.22                     $0.00          $6,324.22
         Creditor's Name



                                                  As of the date you file, the claim is: Check all that
         100 Oceanside Drive                      apply.
         Nashville, TN 37204                          Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number        6628




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 5
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 Debtor 1 Michael R. Bauer                                                                                    Case number (if known)   3-19-13610
               First Name                  Middle Name                      Last Name
 Debtor 2 Kathleen R. LaRocque
               First Name                  Middle Name                      Last Name


 2.2     Capitol Bank                               Describe the property that secures the claim:                   $110,220.89         $750,000.00              $0.00
         Creditor's Name                            919 Shorewood Blvd Madison, WI
                                                    53705 Dane County
                                                    Dane County 2019 assessed value
                                                    $688,000; Debtors calculation of
                                                    liquidation value of $750,000 per
                                                    Home Appraisal for Capital Bank
                                                    dated 4-4-2016
                                                    As of the date you file, the claim is: Check all that
         710 N. High Point Rd.                      apply.
         Madison, WI 53717                               Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


         Harris Family Living
 2.3                                                                                                                 $88,171.05               $0.00      $88,171.05
         Trust                                      Describe the property that secures the claim:
         Creditor's Name



                                                    As of the date you file, the claim is: Check all that
         PO Box 1601                                apply.
         Los Alamitos, CA 90720                          Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          2018                        Last 4 digits of account number         V453




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 2 of 5
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 Debtor 1 Michael R. Bauer                                                                                    Case number (if known)   3-19-13610
               First Name                  Middle Name                      Last Name
 Debtor 2 Kathleen R. LaRocque
               First Name                  Middle Name                      Last Name


 2.4     MDC Ventures, Inc.                         Describe the property that secures the claim:                    $30,000.00               $0.00      $30,000.00
         Creditor's Name


         3534-1 St. John's Bluff,
                                                    As of the date you file, the claim is: Check all that
         Ste 347                                    apply.
         Jacksonville, FL 32224                          Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          2015                        Last 4 digits of account number         1023

         New Residential
 2.5                                                                                                                $529,490.00         $750,000.00              $0.00
         Mortgage LLC                               Describe the property that secures the claim:
         Creditor's Name                            919 Shorewood Blvd Madison, WI
                                                    53705 Dane County
                                                    Dane County 2019 assessed value
                                                    $688,000; Debtors calculation of
                                                    liquidation value of $750,000 per
                                                    Home Appraisal for Capital Bank
         425 Phillips Blvd, FC-236                  dated 4-4-2016
                                                    As of the date you file, the claim is: Check all that
         c/o Cenlar FSB                             apply.
         Trenton, NJ 08618                               Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 3 of 5
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 Debtor 1 Michael R. Bauer                                                                                    Case number (if known)        3-19-13610
               First Name                  Middle Name                      Last Name
 Debtor 2 Kathleen R. LaRocque
               First Name                  Middle Name                      Last Name


 2.6     US Bank National Assn                      Describe the property that secures the claim:                   $521,592.33                         $0.00      $521,592.33
         Creditor's Name


         925 W 8th Street
                                                    As of the date you file, the claim is: Check all that
         Cincinnati, OH                             apply.
         45203-1203                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          2015                        Last 4 digits of account number         V461


   Add the dollar value of your entries in Column A on this page. Write that number here:                                 $1,285,798.49
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                $1,285,798.49

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.6
          Atty. Darrell R. Zall
          Kohner, Mann & Kailas SC                                                                    Last 4 digits of account number
          4650 N. Port Washington
          Washington Bldg 2nd FL
          Milwaukee, WI 53212-1077

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.3
          Atty. Ethan T. Miller
          WR Stewart & Associates SC                                                                  Last 4 digits of account number
          110 E. Main St., Ste 813
          Madison, WI 53703-4222

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.4
          Atty. Robert Pasch
          Murphy Desmond SC                                                                           Last 4 digits of account number
          33 E. Main St., Ste 500
          Madison, WI 53701-2038

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.2
          Atty. Virginia Bartelt
          Bartelt Grob SC                                                                             Last 4 digits of account number
          6300 University Ave Ste 200
          Middleton, WI 53562




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                    page 4 of 5
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 Debtor 1 Michael R. Bauer                                                               Case number (if known)          3-19-13610
              First Name                Middle Name                  Last Name
 Debtor 2 Kathleen R. LaRocque
              First Name                Middle Name                  Last Name



        Name, Number, Street, City, State & Zip Code                               On which line in Part 1 did you enter the creditor?   2.5
        Gray & Associates, L.L.P.
        Attn: Robert M. Piette                                                     Last 4 digits of account number
        16345 West Glendale Drive
        New Berlin, WI 53151-2841




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 5 of 5
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           Case 3-19-13610-kmp                          Doc 12 Filed 11/12/19 Entered 11/12/19 14:28:24                                                    Desc Main
                                                              Document    Page 26 of 68
 Fill in this information to identify your case:

 Debtor 1                     Michael R. Bauer
                              First Name                    Middle Name                        Last Name

 Debtor 2                     Kathleen R. LaRocque
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                WESTERN DISTRICT OF WISCONSIN

 Case number           3-19-13610
 (if known)                                                                                                                                              Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim           Priority           Nonpriority
                                                                                                                                              amount             amount
 2.1          Internal Revenue Service                               Last 4 digits of account number                                  $0.00              $0.00                 $0.00
              Priority Creditor's Name
              Central Insolvency Operations                          When was the debt incurred?
              P.O. Box 7346
              Philadelphia, PA 19101-7346
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government

        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated

              No                                                        Other. Specify
              Yes




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                             Page 1 of 16
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 Debtor 1 Michael R. Bauer
 Debtor 2 Kathleen R. LaRocque                                                                             Case number (if known)            3-19-13610

            Wisconsin Department of
 2.2        Revenue                                                  Last 4 digits of account number                               $0.00                  $0.00                  $0.00
            Priority Creditor's Name
            Special Procedures Unit                                  When was the debt incurred?
            P.O. Box 8901
            Madison, WI 53708-8901
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government

        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated

            No                                                          Other. Specify
            Yes



 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1        Ally Auto                                                  Last 4 digits of account number        5235                                                      $15,351.69
            Nonpriority Creditor's Name
            PO Box 38903                                               When was the debt incurred?            2016
            Bloomington, MN 55438
            Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                 Debtor 1 only
                                                                           Contingent
                 Debtor 2 only
                                                                           Unliquidated
                 Debtor 1 and Debtor 2 only
                                                                           Disputed
                 At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                     Student loans
            debt                                                          Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                            report as priority claims

                 No                                                        Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                       Other. Specify   Business Note




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 2 of 16
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 Debtor 1 Michael R. Bauer
 Debtor 2 Kathleen R. LaRocque                                                                           Case number (if known)         3-19-13610

 4.2      Aspen Financial Direct                                     Last 4 digits of account number                                                           $2,000.00
          Nonpriority Creditor's Name
          PO Box 802533                                              When was the debt incurred?           9-2019
          Dallas, TX 75380
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   consumer debt


 4.3      Bank of America, NA                                        Last 4 digits of account number       2448                                              $23,642.66
          Nonpriority Creditor's Name
          3033 Campus Drive #250                                     When was the debt incurred?           2018
          Plymouth, MN 55441
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Judgment; business debt


 4.4      Bank of America, NA                                        Last 4 digits of account number       2444                                              $55,346.65
          Nonpriority Creditor's Name
          3033 Campus Drive #250                                     When was the debt incurred?           2018
          Plymouth, MN 55441
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Judgment, business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 3 of 16
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 Debtor 1 Michael R. Bauer
 Debtor 2 Kathleen R. LaRocque                                                                           Case number (if known)         3-19-13610

 4.5      Capitol One Bank                                           Last 4 digits of account number       2289                                                  $990.52
          Nonpriority Creditor's Name
          1680 Capital One Drive                                     When was the debt incurred?           October, 2019
          McLean, VA 22102
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   consumer purchase


 4.6      CashNet USA                                                Last 4 digits of account number       8588                                                $2,000.00
          Nonpriority Creditor's Name
          175 W. Jackson Blvd., Suite 1000                           When was the debt incurred?           2019
          Chicago, IL 60604
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   consumer debt


 4.7      Cavalry SPV I, LLC                                         Last 4 digits of account number       3521                                              $69,174.79
          Nonpriority Creditor's Name
          Attn: Bankruptcy Notice                                    When was the debt incurred?
          P.O. Box 520
          Valhalla, NY 10595
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Original Inst: Citibank, N.A., account
                                                                                         ending in 9395; Business 2/3 of debt,
              Yes                                                       Other. Specify   balance consumer purchases




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 4 of 16
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 Debtor 1 Michael R. Bauer
 Debtor 2 Kathleen R. LaRocque                                                                           Case number (if known)         3-19-13610

 4.8      Chandra Ware                                               Last 4 digits of account number                                                        $100,000.00
          Nonpriority Creditor's Name
          10244 Fountain Circle                                      When was the debt incurred?           Dec 2014
          Mannassas, VA 20110
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Note


 4.9      Chase                                                      Last 4 digits of account number       7110                                              $17,590.57
          Nonpriority Creditor's Name
          c/o Business Card Services                                 When was the debt incurred?
          PO Box 15298
          Wilmington, DE 19850
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business 2/3 of debt; balance consumer
              Yes                                                       Other. Specify   purchases


 4.1
 0        Citibank, N.A.                                             Last 4 digits of account number       3259                                              $37,251.03
          Nonpriority Creditor's Name
          Attn: Bankruptcy Notice                                    When was the debt incurred?
          P.O. Box 6500
          Sioux Falls, SD 57117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt




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 4.1
 1        Cliff Fisher                                               Last 4 digits of account number                                                           $5,000.00
          Nonpriority Creditor's Name
          107 N. Hancock Street                                      When was the debt incurred?           June, 2016
          Madison, WI 53703
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt, rent


 4.1
 2        Dale Davis                                                 Last 4 digits of account number                                                                 $0.00
          Nonpriority Creditor's Name
          c/o Atorney Phil Geddes                                    When was the debt incurred?           April 2015
          619 Bank Street N.E.
          Decatur, AL 35601-1607
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business debt included in ProPlayers LLC
              Yes                                                       Other. Specify   Debt


 4.1
 3        Daniel Carbonara                                           Last 4 digits of account number                                                                 $0.00
          Nonpriority Creditor's Name
          38 Old Ivy Road #200                                       When was the debt incurred?           April 2015
          Atlanta, GA 30342
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business debt included in Old Ivy Capital
              Yes                                                       Other. Specify   Partners LLC




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 4.1
 4        Daniel P Bach                                              Last 4 digits of account number                                                        $150,000.00
          Nonpriority Creditor's Name
          c/o Lawton Cates                                           When was the debt incurred?           June 2016
          146 East Milwaukee Street, Suite
          120
          Jefferson, WI 52549
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business note


 4.1
 5        Danielle Leean Daggett                                     Last 4 digits of account number       7623                                                $2,743.50
          Nonpriority Creditor's Name
          5708 Monona Drive #10                                      When was the debt incurred?           2015
          Monona, WI 53716
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   docketed judgment; business debt


 4.1
 6        Directv LLC                                                Last 4 digits of account number       3922                                                  $759.08
          Nonpriority Creditor's Name
          c/o Credence                                               When was the debt incurred?
          17000 Dallas Parkway #204
          Dallas, TX 75248
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   utility - sattelite TV




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 4.1
 7        Jeff Metcalf                                               Last 4 digits of account number                                                                 $0.00
          Nonpriority Creditor's Name
          310 E. Imperial Ave.                                       When was the debt incurred?           March 9, 2015
          El Segundo, CA 90245
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt included in Thoriom LLC


 4.1
 8        Joe Cribbs                                                 Last 4 digits of account number                                                         $10,000.00
          Nonpriority Creditor's Name
          1850 Parkway Pl                                            When was the debt incurred?           Feb 2015
          Marietta, GA 30067
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business note


 4.1
 9        Jora Credit                                                Last 4 digits of account number       598                                                 $2,934.34
          Nonpriority Creditor's Name
          PO Box 8407                                                When was the debt incurred?           2019
          Philadelphia, PA 19101
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   personal debt




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 4.2
 0        Kilroy Realty LP                                           Last 4 digits of account number                                                         $32,025.35
          Nonpriority Creditor's Name
          909 N. Sepulveda Blvd                                      When was the debt incurred?           Sept 2015
          Suite 220
          El Segundo, CA 90245
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   California lease; business debt


 4.2
 1        Kurt Kielisch                                              Last 4 digits of account number                                                         $10,274.09
          Nonpriority Creditor's Name
          Forensic Appraisal Group                                   When was the debt incurred?           2016
          116 E. Bell St.
          Neenah, WI 54956
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt, expert fee


 4.2
 2        Lorenzo Newberry*                                          Last 4 digits of account number                                                         $75,000.00
          Nonpriority Creditor's Name
          444 W. Ocean Blvd                                          When was the debt incurred?           June 2015
          Long Beach, CA 90802
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Commission; business debt




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 4.2
 3        Ludus Capital                                              Last 4 digits of account number                                                        $200,000.00
          Nonpriority Creditor's Name
          220 Congress Park Blvd, #215                               When was the debt incurred?           May 2014
          Delray Beach, FL 33445
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.2
 4        Mark Panfil                                                Last 4 digits of account number                                                                 $0.00
          Nonpriority Creditor's Name
          2381 Rosecrans #115                                        When was the debt incurred?           2015
          El Sengundo, CA 90425
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt included in Wayne Panfil


 4.2      Mercedes-Benz Financial Services
 5        USA LLC                                                    Last 4 digits of account number                                                         $48,295.79
          Nonpriority Creditor's Name
          PO Box 551080                                              When was the debt incurred?
          Jacksonville, FL 32255
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt




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 4.2
 6        Michael Forehand                                           Last 4 digits of account number                                                         $95,000.00
          Nonpriority Creditor's Name
          c/o Atttorney Phil Geddes                                  When was the debt incurred?
          619 Bank Street N.E.
          Decatur, AL 35601-1607
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt, line of credit


 4.2
 7        Midwestern Wheels Inc.                                     Last 4 digits of account number       5974                                                  $583.13
          Nonpriority Creditor's Name
          c/o Credit Systems of the Fox                              When was the debt incurred?           June 2017
          Valley, I
          630 S. Green Bay Road
          Neenah, WI 54956
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   rental car; business debt


 4.2
 8        Old Ivy Capital Partners LLC                               Last 4 digits of account number                                                        $690,000.00
          Nonpriority Creditor's Name
          460 E Paces Ferry Road                                     When was the debt incurred?           2015
          Atlanta, GA 30305
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Notes




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 4.2
 9        Patrick Preece                                             Last 4 digits of account number                                                                 $0.00
          Nonpriority Creditor's Name
          23 S. Gillette Ave.                                        When was the debt incurred?
          Bayport, NY 11705
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt included in Ludus Capital


 4.3
 0        Plain Green Loans                                          Last 4 digits of account number       2246                                                $1,900.00
          Nonpriority Creditor's Name
          Attn: Customer Support                                     When was the debt incurred?           2019
          P.O. Box 270
          Box Elder, MT 59521
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   consumer debt


 4.3
 1        Pro Players LLC                                            Last 4 digits of account number                                                        $119,839.00
          Nonpriority Creditor's Name
          c/o Atttorney Phil Geddes                                  When was the debt incurred?           April 2015
          619 Bank Street N.E.
          Decatur, AL 35601-1607
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt




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 4.3
 2        Republic Bank & Trust Company                              Last 4 digits of account number       8140                                                $2,335.00
          Nonpriority Creditor's Name
          4030 Smith Road                                            When was the debt incurred?
          Cincinnati, OH 45209
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   personal debt


 4.3
 3        Rise Credit Inc.                                           Last 4 digits of account number       26NL                                                $4,696.07
          Nonpriority Creditor's Name
          4150 International Plaza, #300                             When was the debt incurred?           2017
          Ft. Worth, TX 76109
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   personal debt


 4.3
 4        Scott MacWilliams                                          Last 4 digits of account number                                                           $3,000.00
          Nonpriority Creditor's Name
          107 S. Main Street                                         When was the debt incurred?           2-25-2016
          Oregon, WI 53575
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt of Bauer Law LLC




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 4.3
 5        Simple Fast Loans                                          Last 4 digits of account number       0080                                                $1,500.00
          Nonpriority Creditor's Name
          8601 Dunwood Place, Suite 406                              When was the debt incurred?           Sept 2019
          Atlanta, GA 30350
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   personal debt


 4.3
 6        Strategic Funding                                          Last 4 digits of account number                                                         $48,131.25
          Nonpriority Creditor's Name
          120 W. 45th Street                                         When was the debt incurred?           Dec 2018
          New York, NY 10036
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt; NY judgment


 4.3
 7        Thoriom LLC                                                Last 4 digits of account number                                                         $15,000.00
          Nonpriority Creditor's Name
          c/o Jeff Metcalfe                                          When was the debt incurred?           March 9, 2015
          310 E. Imperial Ave.
          El Segundo, CA 90245
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business note




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 14 of 16
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 Debtor 1 Michael R. Bauer
 Debtor 2 Kathleen R. LaRocque                                                                           Case number (if known)          3-19-13610

 4.3       Three Hills Secured Income Fund
 8         LLC                                                       Last 4 digits of account number                                                             $325,000.00
           Nonpriority Creditor's Name
           220 South 6th Street                                      When was the debt incurred?           2015
           #1200
           Minneapolis, MN 55402
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business note


 4.3
 9         Wayne Panfil                                              Last 4 digits of account number                                                             $335,000.00
           Nonpriority Creditor's Name
           c/o Mark Panfil                                           When was the debt incurred?           2015
           2381 Rosecrans #115
           El Segundo, CA 90425
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business note

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Altus Global Trade Solutions                                  Line 4.38 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 2400 Veterans Blvd, Ste 300                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Kenner, LA 70062
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Credence Resource Management                                  Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 LLC                                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. Box 1253
 Southgate, MI 48195-0253
                                                               Last 4 digits of account number                  4939

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Credit Systems of the Fox Valley                              Line 4.27 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Inc.                                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 630 S. Green Bay Rd.
 Neenah, WI 54956

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 15 of 16
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 Debtor 1 Michael R. Bauer
 Debtor 2 Kathleen R. LaRocque                                                                           Case number (if known)          3-19-13610

                                                               Last 4 digits of account number                    5974

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Frontline Asset Strategies                                    Line 4.7 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Dept. 473 7619064719083                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. Box 4115
 Concord, CA 94524
                                                               Last 4 digits of account number                    6989

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Messerli Kramer PA                                            Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Attn: Gina Ziegelbauer                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 100 S. 5th St., Ste 1400
 Minneapolis, MN 55402
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Messerli Kramer PA                                            Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Attn: Gina Ziegelbauer                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 100 S. 5th St., Ste 1400
 Minneapolis, MN 55402
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Radius Global Solutions LLC                                   Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 390905                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Minneapolis, MN 55439
                                                               Last 4 digits of account number                    7280

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rausch Sturm                                                  Line 4.25 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Atty. Evan R. Fingert                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 250 N. Sunnyslope Road, Ste 300
 Brookfield, WI 53005
                                                               Last 4 digits of account number


 Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
 Total
 claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                          6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                           0.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                           0.00
 Total
 claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                2,502,364.51

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                2,502,364.51




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 16 of 16
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 Fill in this information to identify your case:

 Debtor 1                  Michael R. Bauer
                           First Name                         Middle Name            Last Name

 Debtor 2                  Kathleen R. LaRocque
 (Spouse if, filing)       First Name                         Middle Name            Last Name


 United States Bankruptcy Court for the:               WESTERN DISTRICT OF WISCONSIN

 Case number           3-19-13610
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                   State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code

     2.1       Spectrum/Charter                                                           cable/internet provider


     2.2       Verizon                                                                    cellular phone provider




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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           Case 3-19-13610-kmp                               Doc 12 Filed 11/12/19 Entered 11/12/19 14:28:24                            Desc Main
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 Fill in this information to identify your case:

 Debtor 1                     Michael R. Bauer
                              First Name                          Middle Name          Last Name

 Debtor 2                     Kathleen R. LaRocque
 (Spouse if, filing)          First Name                          Middle Name          Last Name


 United States Bankruptcy Court for the:                   WESTERN DISTRICT OF WISCONSIN

 Case number             3-19-13610
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                            12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

                       No
                       Yes.


                         In which community state or territory did you live?           -NONE-          . Fill in the name and current address of that person.


                         Name of your spouse, former spouse, or legal equivalent
                         Number, Street, City, State & Zip Code

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:


    3.1         Bauer & Bach, LLC                                                                         Schedule D, line
                former address:                                                                           Schedule E/F, line        4.11
                123 E. Main Street, Ste 300
                                                                                                          Schedule G
                Madison, WI 53703
                                                                                                       Cliff Fisher



    3.2         Bauer & Bach, LLC                                                                         Schedule D, line
                former address:                                                                           Schedule E/F, line        4.20
                123 E. Main Street, Ste 300
                                                                                                          Schedule G
                Madison, WI 53703
                                                                                                       Kilroy Realty LP




Official Form 106H                                                                 Schedule H: Your Codebtors                                      Page 1 of 4
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              Michael R. Bauer
 Debtor 1 Kathleen R. LaRocque                                                       Case number (if known)   3-19-13610


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                      Column 2: The creditor to whom you owe the debt
                                                                                          Check all schedules that apply:
    3.3      Bauer Law LLC                                                                  Schedule D, line
             former address:                                                                Schedule E/F, line      4.21
             309 W. Johnson St., #203
                                                                                            Schedule G
             Madison, WI 53703
                                                                                          Kurt Kielisch



    3.4      Bauer Law LLC                                                                  Schedule D, line
             former address:                                                                Schedule E/F, line      4.34
             309 W. Johnson St., #203
                                                                                            Schedule G
             Madison, WI 53703
                                                                                          Scott MacWilliams



    3.5      Sports Advisors, Inc.                                                           Schedule D, line
             Michael Bauer, Registered Agent                                                 Schedule E/F, line     4.1
             309 W. Johnson St., #203
                                                                                             Schedule G
             Madison, WI 53703
                                                                                          Ally Auto



    3.6      Sports Advisors, Inc.                                                          Schedule D, line   2.6
             Michael Bauer, Registered Agent                                                Schedule E/F, line
             309 W. Johnson St., #203
                                                                                            Schedule G
             Madison, WI 53703
                                                                                          US Bank National Assn



    3.7      Sports Advisors, Inc.                                                          Schedule D, line
             Michael Bauer, Registered Agent                                                Schedule E/F, line   4.15
             309 W. Johnson St., #203
                                                                                            Schedule G
             Madison, WI 53703
                                                                                          Danielle Leean Daggett



    3.8      Sports Advisors, Inc.                                                          Schedule D, line   2.4
             Michael Bauer, Registered Agent                                                Schedule E/F, line
             309 W. Johnson St., #203
                                                                                            Schedule G
             Madison, WI 53703
                                                                                          MDC Ventures, Inc.



    3.9      Sports Advisors, Inc.                                                          Schedule D, line    2.3
             Michael Bauer, Registered Agent                                                Schedule E/F, line
             309 W. Johnson St., #203
                                                                                            Schedule G
             Madison, WI 53703
                                                                                          Harris Family Living Trust




Official Form 106H                                                    Schedule H: Your Codebtors                                  Page 2 of 4
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              Michael R. Bauer
 Debtor 1 Kathleen R. LaRocque                                                       Case number (if known)   3-19-13610


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                      Column 2: The creditor to whom you owe the debt
                                                                                          Check all schedules that apply:
    3.10     Sports Advisors, Inc.                                                           Schedule D, line
             Michael Bauer, Registered Agent                                                 Schedule E/F, line     4.36
             309 W. Johnson St., #203
                                                                                             Schedule G
             Madison, WI 53703
                                                                                          Strategic Funding



    3.11     Sports Advisors, Inc.                                                          Schedule D, line
             Michael Bauer, Registered Agent                                                Schedule E/F, line   4.38
             309 W. Johnson St., #203
                                                                                            Schedule G
             Madison, WI 53703
                                                                                          Three Hills Secured Income Fund LLC



    3.12     Sports Advisors, Inc.                                                          Schedule D, line
             Michael Bauer, Registered Agent                                                Schedule E/F, line 4.25
             309 W. Johnson St., #203
                                                                                            Schedule G
             Madison, WI 53703
                                                                                          Mercedes-Benz Financial Services USA LLC



    3.13     Sports Advisors, Inc.                                                          Schedule D, line
             Michael Bauer, Registered Agent                                                Schedule E/F, line      4.8
             309 W. Johnson St., #203
                                                                                            Schedule G
             Madison, WI 53703
                                                                                          Chandra Ware



    3.14     Sports Advisors, Inc.                                                          Schedule D, line
             Michael Bauer, Registered Agent                                                Schedule E/F, line      4.31
             309 W. Johnson St., #203
                                                                                            Schedule G
             Madison, WI 53703
                                                                                          Pro Players LLC



    3.15     Sports Advisors, Inc.                                                          Schedule D, line
             Michael Bauer, Registered Agent                                                Schedule E/F, line    4.28
             309 W. Johnson St., #203
                                                                                            Schedule G
             Madison, WI 53703
                                                                                          Old Ivy Capital Partners LLC



    3.16     Sports Advisors, Inc.                                                          Schedule D, line
             Michael Bauer, Registered Agent                                                Schedule E/F, line      4.37
             309 W. Johnson St., #203
                                                                                            Schedule G
             Madison, WI 53703
                                                                                          Thoriom LLC




Official Form 106H                                                    Schedule H: Your Codebtors                                  Page 3 of 4
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              Michael R. Bauer
 Debtor 1 Kathleen R. LaRocque                                                       Case number (if known)   3-19-13610


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                      Column 2: The creditor to whom you owe the debt
                                                                                          Check all schedules that apply:
    3.17     Sports Advisors, Inc.                                                          Schedule D, line
             Michael Bauer, Registered Agent                                                Schedule E/F, line      4.18
             309 W. Johnson St., #203
                                                                                            Schedule G
             Madison, WI 53703
                                                                                          Joe Cribbs



    3.18     Sports Advisors, Inc.                                                          Schedule D, line
             Michael Bauer, Registered Agent                                                Schedule E/F, line      4.23
             309 W. Johnson St., #203
                                                                                            Schedule G
             Madison, WI 53703
                                                                                          Ludus Capital



    3.19     Sports Advisors, Inc.                                                          Schedule D, line
             Michael Bauer, Registered Agent                                                Schedule E/F, line      4.39
             309 W. Johnson St., #203
                                                                                            Schedule G
             Madison, WI 53703
                                                                                          Wayne Panfil



    3.20     Sports Advisors, Inc.                                                          Schedule D, line
             Michael Bauer, Registered Agent                                                Schedule E/F, line      4.29
             309 W. Johnson St., #203
                                                                                            Schedule G
             Madison, WI 53703
                                                                                          Patrick Preece




Official Form 106H                                                    Schedule H: Your Codebtors                                  Page 4 of 4
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Fill in this information to identify your case:

Debtor 1                      Michael R. Bauer

Debtor 2                      Kathleen R. LaRocque
(Spouse, if filing)

United States Bankruptcy Court for the:       WESTERN DISTRICT OF WISCONSIN

Case number               3-19-13610                                                                    Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                    Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                                Not employed
       employers.
                                             Occupation                                                        Chief Development Officer
       Include part-time, seasonal, or
       self-employed work.                   Employer's name                                                   University of Wisconsin System

       Occupation may include student        Employer's address
                                                                                                               660 W. Washington Ave., Ste 201
       or homemaker, if it applies.
                                                                                                               Madison, WI 53703

                                             How long employed there?                                                   1 yr 5 months

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $              0.00       $         7,916.67

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $           0.00              $   7,916.67




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
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Debtor 1   Michael R. Bauer
Debtor 2   Kathleen R. LaRocque                                                                  Case number (if known)    3-19-13610


                                                                                                     For Debtor 1            For Debtor 2 or
                                                                                                                             non-filing spouse
     Copy line 4 here                                                                     4.         $              0.00     $         7,916.67

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $        1,637.95
     5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $          518.54
     5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $            0.00
     5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $            0.00
     5e.    Insurance                                                                     5e.        $              0.00     $          243.00
     5f.    Domestic support obligations                                                  5f.        $              0.00     $            0.00
     5g.    Union dues                                                                    5g.        $              0.00     $            0.00
     5h.    Other deductions. Specify:                                                    5h.+       $              0.00 +   $            0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $        2,399.49
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $        5,517.18
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00     $               0.00
     8b. Interest and dividends                                                           8b.        $              0.00     $               0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00     $               0.00
     8d. Unemployment compensation                                                        8d.        $              0.00     $               0.00
     8e. Social Security                                                                  8e.        $              0.00     $               0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $                 0.00
     8g. Pension or retirement income                                                     8g. $                     0.00   $                 0.00
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                 0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00     $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $                 0.00 + $          5,517.18 = $           5,517.18
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                     0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                        12.   $           5,517.18
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: Michael hopes to earn income going forward if and when law license is reinstated.




Official Form 106I                                                     Schedule I: Your Income                                                        page 2
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Fill in this information to identify your case:

Debtor 1                 Michael R. Bauer                                                                  Check if this is:
                                                                                                               An amended filing
Debtor 2                 Kathleen R. LaRocque                                                                  A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   WESTERN DISTRICT OF WISCONSIN                                              MM / DD / YYYY

Case number           3-19-13610
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Daughter                             15                   Yes
                                                                                                                                             No
                                                                                   Son                                  17                   Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             2,400.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                           1,100.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                             125.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                             150.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                               0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             425.00




Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
      Case 3-19-13610-kmp                      Doc 12 Filed 11/12/19 Entered 11/12/19 14:28:24                                                Desc Main
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Debtor 1     Michael R. Bauer
Debtor 2     Kathleen R. LaRocque                                                                      Case number (if known)      3-19-13610

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 300.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                 125.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 600.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                700.00
8.    Childcare and children’s education costs                                                 8. $                                                150.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                100.00
10.   Personal care products and services                                                    10. $                                                 125.00
11.   Medical and dental expenses                                                            11. $                                                 150.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 150.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 150.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  225.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       6,975.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       6,975.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               5,517.18
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              6,975.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                             -1,457.82

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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 Fill in this information to identify your case:

 Debtor 1                    Michael R. Bauer
                             First Name                     Middle Name             Last Name

 Debtor 2                    Kathleen R. LaRocque
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF WISCONSIN

 Case number              3-19-13610
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Michael R. Bauer                                                      X   /s/ Kathleen R. LaRocque
              Michael R. Bauer                                                          Kathleen R. LaRocque
              Signature of Debtor 1                                                     Signature of Debtor 2

              Date       November 11, 2019                                              Date    November 11, 2019




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

 Debtor 1                  Michael R. Bauer
                           First Name                       Middle Name                  Last Name

 Debtor 2                  Kathleen R. LaRocque
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF WISCONSIN

 Case number           3-19-13610
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                              Dates Debtor 2
                                                                 lived there                                                                     lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                Wages, commissions,                               $0.00          Wages, commissions,                $87,083.37
 the date you filed for bankruptcy:                bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                           Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
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 Debtor 1      Michael R. Bauer
 Debtor 2      Kathleen R. LaRocque                                                                        Case number (if known)   3-19-13610

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 For last calendar year:                             Wages, commissions,                        $84,023.00            Wages, commissions,              $56,505.00
 (January 1 to December 31, 2018 )                 bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                           Operating a business

 For the calendar year before that:                  Wages, commissions,                        $53,211.00            Wages, commissions,              $31,972.00
 (January 1 to December 31, 2017 )                 bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income             Gross income
                                                   Describe below.                  each source                    Describe below.               (before deductions
                                                                                    (before deductions and                                       and exclusions)
                                                                                    exclusions)
 From January 1 of current year until Loan Repayment                                            $87,000.00         IRA withdrawal                       $35,000.00
 the date you filed for bankruptcy:


                                                   Taxable refund                                 $5,165.00

 For last calendar year:                           Interest / Dividends                               $14.00
 (January 1 to December 31, 2018 )


                                                   Taxable refund                                 $7,979.00

 For the calendar year before that:                Interest / Dividends                               $49.00
 (January 1 to December 31, 2017 )


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2
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 Debtor 1      Michael R. Bauer
 Debtor 2      Kathleen R. LaRocque                                                                        Case number (if known)   3-19-13610


            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                         Status of the case
       Case number
       New Residential Mortgage LLC vs.                          mortgage                   Dane County Clerk of                       Pending
       Michael R. Bauer, Kathleen R.                             foreclosure                Courts                                     On appeal
       LaRocque, Capitol Bank, MDC                                                          215 S. Hamilton Street
                                                                                                                                       Concluded
       Ventures, Inc., US Bank National                                                     Madison, WI 53703
       Association and The Harris Family
       Living Trust
       18CV00241

       Mercedes Benz vs. Bauer                                   money judgment             Dane County Clerk of                       Pending
       2019CV2354                                                                           Courts                                     On appeal
                                                                                            215 S. Hamilton Street
                                                                                                                                       Concluded
                                                                                            Madison, WI 53703

       Achilles Finance, LLC dba                                 money judgment;            Dane County Clerk of                       Pending
       Advance Financial 24/7 vs.                                motion to reopen           Courts                                     On appeal
       Kathleen Larocque                                         pending by                 215 S. Hamilton Street
                                                                                                                                       Concluded
       2019SC6628                                                defendant                  Madison, WI 53703




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3
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 Debtor 2      Kathleen R. LaRocque                                                                        Case number (if known)    3-19-13610

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                     Value of the
                                                                                                                                                          property
                                                                 Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was               Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
        No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                   Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:
       John Bauer                                                    2004 Lexus Rx33, 275,000 miles, not                      March, 2018                  $750.00
       West Bend, WI                                                 running

       Person's relationship to you: brother


14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                        Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your        Value of property
       how the loss occurred                                                                                                  loss                             lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 4
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 Debtor 1      Michael R. Bauer
 Debtor 2      Kathleen R. LaRocque                                                                        Case number (if known)    3-19-13610

 Part 7:       List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment                Amount of
       Address                                                       transferred                                              or transfer was              payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Steinhilber Swanson LLP                                       advance payment in trust for legal                       10-25-2019                  $2,000.00
       122 W. Washington Ave., Suite 850                             services rendered
       Madison, WI 53703


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment                Amount of
       Address                                                       transferred                                              or transfer was              payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or          Date transfer was
       Address                                                       property transferred                       payments received or debts        made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                            Date Transfer was
                                                                                                                                                  made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of          Type of account or           Date account was               Last balance
       Address (Number, Street, City, State and ZIP              account number            instrument                   closed, sold,              before closing or
       Code)                                                                                                            moved, or                           transfer
                                                                                                                        transferred




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 5
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 Debtor 1      Michael R. Bauer
 Debtor 2      Kathleen R. LaRocque                                                                             Case number (if known)   3-19-13610

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?                 Describe the contents                 Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                                   have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access                 Describe the contents                 Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                           have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                     Describe the property                             Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

       Minor children                                                Summit Credit Union                        minor children bank accounts                  $300.00
                                                                                                                ($150.00 each)


 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you          Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you          Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 6
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          Case 3-19-13610-kmp                          Doc 12 Filed 11/12/19 Entered 11/12/19 14:28:24                                       Desc Main
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 Debtor 1      Michael R. Bauer
 Debtor 2      Kathleen R. LaRocque                                                                        Case number (if known)   3-19-13610

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

             No
             Yes. Fill in the details.
        Case Title                                                   Court or agency                       Nature of the case                    Status of the
        Case Number                                                  Name                                                                        case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                 A member of a limited liability company (LLC) or limited liability partnership (LLP)

                 A partner in a partnership

                 An officer, director, or managing executive of a corporation

                 An owner of at least 5% of the voting or equity securities of a corporation

             No. None of the above applies. Go to Part 12.

             Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                            Describe the nature of the business             Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                 Dates business existed
        Sports Advisors, Inc.                                    sports agency                                   EIN:         XX-XXXXXXX
        Madison, WI 53703
                                                                 Jean Willard                                    From-To      6-27-2001 to 6-10-2019

        Bauer Law LLC                                            law firm                                        EIN:         XX-XXXXXXX
                                                                                                                 From-To      2015 - 2018

        Bauer & Bach, LLC                                        law firm                                        EIN:         XX-XXXXXXX

                                                                 Jean Willard                                    From-To      2009-2016


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                     Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Michael R. Bauer                                                    /s/ Kathleen R. LaRocque
 Michael R. Bauer                                                        Kathleen R. LaRocque
 Signature of Debtor 1                                                   Signature of Debtor 2

 Date      November 11, 2019                                             Date       November 11, 2019

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 7
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 Debtor 2      Kathleen R. LaRocque                                                                        Case number (if known)   3-19-13610


   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 8
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 Fill in this information to identify your case:

 Debtor 1                 Michael R. Bauer
                          First Name                        Middle Name              Last Name

 Debtor 2                 Kathleen R. LaRocque
 (Spouse if, filing)      First Name                        Middle Name              Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF WISCONSIN

 Case number           3-19-13610
 (if known)                                                                                                              Check if this is an
                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                            12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         Capitol Bank                                         Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of 919 Shorewood Blvd Madison,                              Reaffirmation Agreement.
    property       WI 53705 Dane County                                     Retain the property and [explain]:
    securing debt: Dane County 2019 assessed
                   value $688,000; Debtors
                   calculation of liquidation value
                   of $750,000 per Home Appraisal
                   for Capital Bank dated 4-4-2016


    Creditor's         New Residential Mortgage LLC                         Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of 919 Shorewood Blvd Madison,                              Reaffirmation Agreement.
    property       WI 53705 Dane County                                     Retain the property and [explain]:
    securing debt: Dane County 2019 assessed
                   value $688,000; Debtors
                   calculation of liquidation value
                   of $750,000 per Home Appraisal
                   for Capital Bank dated 4-4-2016


Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                          page 1

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 Debtor 1      Michael R. Bauer
 Debtor 2      Kathleen R. LaRocque                                                                  Case number (if known)    3-19-13610

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                             Will the lease be assumed?

 Lessor's name:               Spectrum/Charter                                                                                   No

                                                                                                                                 Yes

 Description of leased        cable/internet provider
 Property:



 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Michael R. Bauer                                                         X /s/ Kathleen R. LaRocque
       Michael R. Bauer                                                                Kathleen R. LaRocque
       Signature of Debtor 1                                                           Signature of Debtor 2

       Date        November 11, 2019                                                Date    November 11, 2019




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                     page 2

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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75   administrative fee

        Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                    for family farmers or                                                 certain kinds of improper conduct described in the
                    fishermen                                                             Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                    for individuals with regular                                          You should know that even if you file chapter 7 and
                    income                                                                you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                 years or 5 years, depending on your income and other
 +                  $75        administrative fee                                         factors.
                   $275        total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235        filing fee                                                        debts for fraud or defalcation while acting in a
 +                  $75        administrative fee                                                fiduciary capacity,
                   $310        total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3
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                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Western District of Wisconsin
             Michael R. Bauer
 In re       Kathleen R. LaRocque                                                                             Case No.      3-19-13610
                                                                                  Debtor(s)                   Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

              FLAT FEE
             For legal services, I have agreed to accept                                                  $                       0.00
             Prior to the filing of this statement I have received                                        $                       0.00
             Balance Due                                                                                  $                       0.00

              RETAINER
             For legal services, I have received payment of                                               $                    2000.00
             The undersigned shall bill for future services at an hourly rate of **                       $
             [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court approved
             fees and expenses
                ** Attorney $395/hr; Paralegal $160/hr


2.     The source of the compensation paid to me was:
                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:
                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

                  Any representation pertaining to Debtors' bankruptcy relief, which Debtors are willing to pay the hourly fees
                  incurred.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
                None.


                                                                                 CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.




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             Michael R. Bauer
 In re       Kathleen R. LaRocque                                                               Case No.   3-19-13610
                                                               Debtor(s)

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                             (Continuation Sheet)

     November 11, 2019                                                     /s/ Claire Ann Richman
     Date                                                                  Claire Ann Richman 1020942
                                                                           Signature of Attorney
                                                                           Steinhilber Swanson LLP
                                                                           122 West Washington Ave. Suite 850
                                                                           Madison, WI 53703-2732
                                                                           608-630-8990 Fax: 608-630-8991
                                                                           crichman@steinhilberswanson.com
                                                                           Name of law firm




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                                                               United States Bankruptcy Court
                                                                     Western District of Wisconsin
            Michael R. Bauer
 In re      Kathleen R. LaRocque                                                                     Case No.   3-19-13610
                                                                                   Debtor(s)         Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date: November 11, 2019                                                /s/ Michael R. Bauer
                                                                        Michael R. Bauer
                                                                        Signature of Debtor

 Date: November 11, 2019                                                /s/ Kathleen R. LaRocque
                                                                        Kathleen R. LaRocque
                                                                        Signature of Debtor




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